Case 3:24-cv-00517-JWD-SDJ   Document 39-5   08/05/24 Page 1 of 4




                 EXHIBIT D
      Case 3:24-cv-00517-JWD-SDJ      Document 39-5    08/05/24 Page 2 of 4




                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

DARCY ROAKE, et al.,

                             PLAINTIFFS,

v.                                         Civil Action No. 3:24-cv-517

CADE BRUMLEY, et al.,                      Judge: JWD - SDJ

                            DEFENDANTS.


                       DECLARATION OF MARY HART

      Pursuant to 28 U.S.C. § 1746, I, Mary Hart, duly affirm under penalty of

perjury as follows:

      1.     I am over 18 years of age, have personal knowledge of the matters set

forth herein, and am competent to make this Declaration.

      2.     My name is Mary Hart. I am the Assistant Superintendent of

Administration for St. Tammany Parish Public School System.

      3.     I understand that the Louisiana Legislature passed into law H.B. 71,

which requires each public school governing authority to display the Ten

Commandments in each classroom because of the prominent role of that text in

the history of American public schools as evidenced by the copies of McGuffey

Readers and the textbooks of Noah Webster, widely used in schools for three

centuries.

      4.     I understand that H.B. 71 requires schools to display, alongside the

Ten Commandments, a context statement explaining the history of the Ten

Commandments in American public schools and that H.B. 71 permits the
1
      Case 3:24-cv-00517-JWD-SDJ       Document 39-5      08/05/24 Page 3 of 4




accompanying display of other prominent historical documents, including but not

limited to the Mayflower Compact, the Declaration of Independence, and the

Northwest Ordinance.

      5.     I understand that H.B. 71 proscribes public school governing

authorities from having to spend their funds to purchase displays, so the

authorities can accept donated funds to purchase displays or accept donated

displays.

      6.     I understand that H.B. 71 requires that (a) the State Board of

Elementary and Secondary Education (BESE) adopt rules and regulations that

will govern the proper implementation of the law and (b) the Department of

Education (DOE) identify appropriate resources to comply with the law that are

free of charge and list those resources on its website.

      7.     I understand that public school governing authorities must comply

with the law in 149 days from now—by January 1, 2025—and that the Board is a

public school governing authority under the law.

      8.     There is no H.B. 71 display on any classroom wall in any school under

the Board’s jurisdiction.

      9.     The Board has not accepted any donated funds or accepted any

donated displays under H.B. 71.

      10.    Neither the Board nor its staff has taken any steps to implement

H.B. 71. The Board has not reviewed or considered any particular H.B. 71 display.




                                         2
Case 3:24-cv-00517-JWD-SDJ   Document 39-5   08/05/24 Page 4 of 4
